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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

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 IN RE EUROPEAN GOVERNMENT BONDS                      )    Lead Case No. 1:19-cv-2601
 ANTITRUST LITIGATION                                 )
                                                      )    Hon. Victor Marrero
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                                                      )
                                                      )
                                                      )
                                                      )


 PLAINTIFFS’ NOTICE OF MOTION FOR PRELIMINARY APPROVAL OF CLASS
  ACTION SETTLEMENT WITH STATE STREET CORPORATION AND STATE
                  STREET BANK AND TRUST COMPANY

       PLEASE TAKE NOTICE that Plaintiffs Ohio Carpenters’ Pension Fund, Electrical

Workers Pension Fund Local 103 I.B.E.W., and San Bernardino County Employees’ Retirement

Association (together, “Plaintiffs”) will, and hereby do, move the Court pursuant to Fed. R. Civ.

P. 23(e) for an order preliminarily approving the proposed settlement with State Street Corporation

and State Street Bank and Trust Company (together, “State Street”).

       Submitted herewith in support of this Motion are the:

       (1)     Plaintiffs’ Memorandum of Law in Support of Motion for Preliminary Approval of

               Stipulation and Agreement of Settlement with State Street Corp. & State Street

               Bank and Trust Co.; and

       (2)     Joint Declaration of Kristen M. Anderson, Vincent Briganti, and Gregory S.

               Asciolla in Support of Plaintiffs’ Motion for Preliminary Approval of Class Action

               Settlement with State Street Corp. & State Street Bank and Trust Co.; and

       (3)     Declaration of Anthony Piazza Regarding Preliminary Approval of Stipulation and

               Agreement of Settlement with State Street Corp. & State Street Bank and Trust Co.
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  Dated: June 15, 2021

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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 15, 2021, I caused the foregoing to be electronically filed with

the Clerk of the Court using the CM/ECF system, which will send notification of such filing to the

email addresses denoted on the Electronic Mail Notice List.


                                               s/ Kristen M. Anderson
                                              Kristen M. Anderson




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